 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 1 of 29

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,
Plaintiff,
v.

Navient Corporation, et al.,

Defendants.

Case No. 3:17-CV-00101-RDM
(Hon. Robert D. Mariani)

FILED UNDER SEAL

 

 

PLAINTIFEF’S BRIEF IN SUPPORT OF ITS MOTION TO
DEFER THE DEADLINE FOR ITS RESPONSE TO DEFENDANTS’
MOTION FOR PARTIAL SUMMARY JUDGMENT AND
TO PROHIBIT FURTHER MOTIONS FOR

SUMMARY JUDGMENT BEFORE THE CLOSE OF DISCOVERY

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Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 2 of 29

 

TABLE OF CONTENTS
INTRODUCTION. 0000.0 eeceeeeeeeeeeseesceneeeeeesecsessseevesssaseeaeeseesaeenseesnecsneeseens 1
FACTS AND PROCEDURAL HISTORY... ...........cccccesssesseeesseesssessseesseeeerees 3
A. The Bureau’s Steering Claims .0............ccccesccssscseeesseensesseessenseneuseneesenss 3
B. Steering Did, In Fact, OCCUr.:...........cccceccscessscceessssesssrevessesevseessessenssues 5
C.  Navient’s Incomplete Production of Borrower Records..............0000 11
STATEMENT OF QUESTION INVOLVED... ........cccssccccscseeeeeseeessesssessenss 16
ARGUMENT... ...cccccccccscesssccseescesecneeeaeceaeeseecsesseessseessessesessvensseaesesaccsueenssenteas 17
CONCLUSION .. ooo ecceceeceeseeeeseeseseeeseeneessuesesseucecsecseeeseeensesssecssessanensens 21
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 3 of 29

TABLE OF AUTHORITIES
Page(s)

Cases
Advanced Fluid Sys., Inc. v. Huber,

2015 WL 1729375 (M.D. Pa. Apr. 15, 2015) oo... eee censcenseeneeesneteaeernnesennens 21
Dean v. Douglas,

2012 WL 6151137 (M.D. Ga. Dec. 11, 2012) oe eccsssscesesserecnecenens 21
Doe v. Abington Friends Sch.,

480 F.3d 252 (3d Cir. 2007) ........cccccccccsccccsccseseessseescesscsssscesseeesesssussseesenerenes 17, 20
Humbert v. Kurtz,

2008 WL 719244 (M.D. Pa. Mar. 14, 2008)............cccccccsscsceccsssssessccsusessecuseenees 20
In re G—I Holdings Inc.,

2007 WL 1412294 (D.N.J. May 14, 2007) oo... cccscccseeessseessseesesatesseessenens 21
La Fata y. Raytheon Co.,

223 F.Supp.2d 668 (B.D. Pa. 2002) oo... eccscscsscsesseeeecceseessseesssessesseseneeseseeess 20
Shelton v. Bledsoe,

775 F.3d 554 (3d Cir. 2015)....... aecesessesesscscesssesevsseessaescessssecsusessstevsucersanscenaess 17
Smithson v. Rizzo,

2015 WL 1636143 (M.D. Pa. Apr. 7, 2015)... cccccssceesseeeeseensesscesnesseeresnees 20
Statutes
12 U.S.C. § 5531 vc ecceecccccccscessecescenseecencesssrsuseceesscressesecsnsssssasssuveseesessuseeseceucsneaaeens 3,4
12 U.S.C. § 5536 voc cccccccccssscssscessssessssssssesssusesuseucucevecesseesssseessessesseeaseensesers 3,4

il
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 4 of 29

Regulations
34 CLBLR. § 682.210 occ sesccsecccsesssecsevsesscsscesessecssasscersecsncsscersestsntncesseceetaness

34 CAPER. § 685.207 ooo esesesseseesscneesaesaesaessesnestscesesesseesaeesseeaasseessenstsenensenes

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Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 5 of 29

INTRODUCTION

After substantially delaying the production of documents and data, Navient
now tries to benefit from those delays by moving for partial summary judgment on
the “steering” claims in the Bureau’s complaint (counts I and II) before the Bureau
has had the opportunity to review, or even obtain, documents and calls it has
requested. Navient’s motion is procedurally improper, and the deadline for the
Bureau’s response to the motion should be deferred, for three principal reasons.

First, the case is in active discovery, and just four months ago, Navient
produced 455,000 documents responsive to requests issued by the Bureau in May
2017. It is not feasible for the Bureau to have completed its review of those
documents by now, much less take all of the depositions it is entitled to take based
on the information it learns from that review. While the Bureau’s review is
ongoing, the Bureau has discovered substantial documentary evidence supporting
its steering claims, including evidence in Defendants’ most recent production. It is
not surprising that Navient seeks to dismiss those claims before the Bureau can
complete its review. Navient also filed its motion at a time when the parties are
engaged in an extremely busy phase of discovery, with a full slate of issues to be
litigated before the recently-appointed special master, all of which need to be

resolved in approximately four months.
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 6 of 29

Second, to this day, six months after the Bureau expressed concerns to the
Court that Navient had not produced documents and calls for borrowers who had
already been deposed, and after the Court had set forth a procedure to ensure that
those records would be produced, Navient still has not produced all of the
documents and calls requested by the Bureau. Now, as the Bureau presses Navient
on its failure to produce the missing documents and calls for borrowers whom
Navient deposed, Navient has made those borrowers the centerpiece of its
summary judgment motion before that dispute is even resolved. And Navient
ironically claims that “the entire course of dealing between Navient and the
borrowers must be considered” (Navient Brief, at 16), even while it has not
completed productions that would reveal those “entire course[s] of dealing.”

Third, Navient asks the Court to grant summary judgment by engaging ina
borrower-by-borrower loan file review. But paradoxically, Navient also argues that
““solated phone calls are not evidence of a Company practice.” Navient Brief, at
19. Thus, even Navient seems to understand that file-level review for 14 borrowers
(whose records have not even been fully produced) is not the correct way to
adjudicate this case. This is not an action in which 14 borrowers brought suit
against Navient; rather, the Bureau’s allegations are that Navient engaged in a
widespread practice of steering that was not limited to those 14 borrowers. And, as

described in more detail below, the Bureau already has uncovered substantial
 

 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 7 of 29

evidence demonstrating that Navient’s “Company practice” was indeed to steer
borrowers facing hardships that were not temporary or short-term into forbearance.
The Bureau should be allowed to complete development of the record concerning
Navient’s “Company practice.”

By filing the motion, Navient seeks to deprive the Bureau of an opportunity
to complete discovery — which has, thus far, supported the Bureau’s claims.
Navient should not be allowed to short-circuit the discovery process and the
development of a full record for the factfinder. Thus, discovery should be allowed
to run its course, and the deadline for the Bureau’s response should be deferred
until 21 days after the deadline for motions for summary judgment, which is
currently set at November 7, 2019. Doc. 141, { 4a. In addition, so that the parties
do not divert resources from the important tasks that are necessary to bring
discovery to a close so that this matter can be adjudicated on a complete record,
rather than on a piecemeal basis, the Bureau requests that the parties be prohibited

from filing further summary judgment motions before the close of discovery.

FACTS AND PROCEDURAL HISTORY
I. The Bureau’s Steering Claims
The first two counts of the Bureau’s complaint allege that Navient violated

the Consumer Financial Protection Act’s prohibitions against abusive acts and

practices, 12 U.S.C. §§ 5531(d)(2)(C), 5536(a)(1)(B), and unfair acts and practices,
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 8 of 29

12 U.S.C. $§ 553 1(c), 5536(a)(1)(B), when Navient steered federal loan borrowers
experiencing financial hardship that was not short-term or temporary into
forbearance, before or instead of advising them about income-driven repayment
(“IDR”’) plans. IDR plans allow borrowers to pay an amount that is based on their
current income and household size, thereby accounting for the fact that borrowers’
incomes may fluctuate over time. The payments can be as low as zero dollars if a
borrower’s discretionary income is not sufficient to pay any portion of his or her
student loans, such as during a period of unemployment.

While forbearance can be appropriate for short-term or temporary hardships,
borrowers who enroll in forbearance face significant costs, which generally
increase the longer the borrower is in forbearance, making it a significantly worse
option than IDR for borrowers experiencing a long-term hardship. Some of these
costs include the accumulation of unpaid interest and the addition of that unpaid
interest to the principal balance of the loan (typically called interest capitalization).
In addition, in some cases, after a forbearance, a loan may be reamortized, which
can lead to an increase in the borrower’s monthly payment amount. Borrowers who
enroll in forbearance, rather than IDR, also do not make any progress toward

potential loan forgiveness, nor are they eligible for an interest subsidy available to
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 9 of 29

borrowers with subsidized loans enrolled in IDR. The high use of forbearance is
also associated with increased rates of borrower defaults.'
Il. Steering Did, In Fact, Occur

While the parties are engaged in ongoing discovery and the record continues
to be developed as the Bureau reviews Defendants’ productions and takes
additional depositions, the documentary evidence uncovered thus far, as well as
deposition testimony, corroborate the Bureau’s allegations. For example, a June
2010 memorandum demonstrated that the culture of promoting forbearance at
Navient was so pervasive that the company had a “battle cry” about it: “Our battle
cry remains ‘forbear them, forbear them, make them relinquish the ball.’” A2
(emphasis in original),” The memorandum noted that, for borrowers whose
accounts Navient brought out of delinquency, 70% were being placed in

forbearance. Id.*

 

' Navient writes that forbearance and IDR are “complementary” because
borrowers “often need forbearance to allow time to complete IDR paperwork.”
Navient Brief, at 3. This is a red herring; as Navient well knows, this case is not
about the use of administrative forbearances, which are typically three months or
less and are designed to give borrowers time to apply for IDR.

*“A _” refers to a page of the appendix filed with this brief.

* The memorandum also stated that “we are very liberal with the use of
forbearance once it is determined that a borrower cannot pay cash or utilize other
entitlement programs.” A2. Under ED regulations, “entitlement programs” refers
to deferment and grace periods, not to IDR. See 34 C.F.R. § 682.210 (describing
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 10 of 29

The high rate of enrollment in forbearance for borrowers in distress was not
surprising in light of the fact that Navient provided its call center representatives
with a job aid that directed representatives to steer borrowers facing financial
difficulty toward forbearance. The first page of the job aid contains a decision tree
that guides the representative to ask “Can the borrower pay some portion?” A5.

IDR plans are shown as options available to borrowers who can afford a payment,
while forbearance and deferments are the only options shown to be available to
borrowers who cannot make any payment. /d. Following the lead of the decision
tree, the second page of the job aid is a matrix that sorts repayment options
according to whether a borrower “Can Make Monthly Payments” or “CAN NOT
Make Monthly Payments.” A6. Again, IDR plans are listed only under the category
“Can Make Monthly Payments,” while forbearance and deferment are the only
options listed for borrowers who “CAN NOT Make Monthly Payments.” Jd.

While Navient repeatedly touts in its brief that it informed students that
“You could even qualify for a payment of $0!’, Navient employees confirmed that,
dating back to at least 2011, Navient did not offer IDR to borrowers who could not

afford to make payments. For example, the head of all four of Navient’s call

 

“entitle[ment]” to deferments); 34 C.F.R. § 685.207 (describing ‘“‘entitle{ment]” to
grace periods).
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 11 of 29

centers stated that he had not been aware, during most or all of his tenure from
2011 to 2012, that IDR was even an option for borrowers who could not afford to
make payments. A9. And a Navient call center supervisor confirmed that, through
at least 2012 and perhaps for years after that, the job aid that guided calls with
delinquent borrowers did not include IDR as an option. A13.

Consistent with the fact that Navient did not adequately advise borrowers
about IDR, the Bureau is already in possession of dozens of calls in which steering
occurred, which were obtained through Navient’s document productions (for
example, calls attached to internal emails). And the Bureau has not yet obtained in
this litigation a sample of calls for review, but is currently in the process of
negotiating the parameters of that call sample production.

Navient’s steering of borrowers into forbearance came to the attention of
third-party student loan counselors, who were puzzled by Navient’s refusal to offer
IDR plans to borrowers who were obvious candidates for it. For example:

e Employees of the i3 Group — a third-party counseling service — observed
in 2013: “We have been experiencing [Navient] reps who are refusing to
send out the IBR, hanging up after the forbearance is read, and then also
refusing to put a supervisor on the line when requested.’” A16. A Senior

Vice President from i3 brought the issue to Navient’s attention,
explaining how Navient representatives were “not wanting to offer IBR”
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 12 of 29

or were making up restrictions about JBR eligibility to avoid offering
IBR. A183-84.4

e Loan counselors at the University of Phoenix made similar observations
in 2013, following an incident in which Navient representatives “refused
to go over IBR” with a borrower with no income. A19. University of
Phoenix representatives received confirmation from two different
Navient representatives that it was Navient’s policy “that if a student says

they cannot make any payments that (Navient] go over only Deferment
and Forbearance options.” A18-19 (emphasis in original).

Navient’s internal emails also demonstrate that Navient employees
reviewing Calls were providing samples of steering that they thought would be
brought to the attention of Navient’s CEO. For example, in February 2014, Navient
personnel flagged for CEO Jack Remondi’s attention a borrower call where the
borrower was placed in forbearance even though she “may have qualified for
IBR.” A22. Through at least 2016, the issue of borrower steering had persisted,
with examples of problematic calls having been brought to Mr. Remondi’s
attention on at least four additional occasions. A27, 29, 32, 35.

In 2017, the Department of Education (“ED”) conducted a review of
Navient’s call center activities, and after listening to a sample of calls, ED
concluded that, in some of those calls, “Navient CSRs neglected to offer the

borrower an option other than forbearance.” A40. ED noted that “[t]he use of

 

“ IBR stands for income-based repayment, which is one of the types of plans
that falls under the broader umbrella phrase of IDR plans.
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 13 of 29

forbearance in lieu of any other options can cause more undue hardship to a
borrower in the long term.” /d.

According to former employees of Navient, the occurrence of steering was
also a consequence of Navient’s compensation policies. Navient’s compensation
policies for its customer service personnel incentivized them to deal with calls
quickly, which resulted in borrowers not being advised about IDR plans or being
directed toward forbearance. As one former employee recounted: “The company
fostered a culture within the call center that prioritized speed in resolving borrower
calls. The company imposed a requirement that employees maintain an average
call time of approximately seven minutes. It initially conveyed the requirement
during training. Managers reinforced the requirement through regular feedback
sessions.” A88-89. Employees were informed daily or weekly how their average
call time compared with their peers through tracking spreadsheets sent to
employees by email that showed the names of employees along with their average
call times. A former employee described these reports as follows: “The
spreadsheet ranked employees according to the colors green, yellow, and red. Top
performers were green. Marginal performers were yellow. And poor performers
were red.” A89. Thus, “[nJot only did I know what my average call time was, I
knew where I stood relative to other customer service representatives.” A90.

Navient employees understood that the way to achieve short call times was to offer
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 14 of 29

forbearance. If a borrower called to discuss repayment options, and the
representative placed the borrower into forbearance, that could be accomplished in
under 3.5 minutes. A102. In contrast, discussing IDR would be a much longer
conversation. A93-94.

Even though call representatives had their calls audited on a monthly basis
by their supervisors, this auditing was not thorough, nor was it designed to prevent
incidents of steering. A supervisor was required to listen to only five calls per
month for each agent, and those five calls could cover any subject, including topics
unrelated to choosing a repayment plan. Al 00-01. Even if, in these limited audits,
a representative was deemed not to have properly discussed IDR as a repayment
option, the representative’s conduct would not be written up in any way or lead to
any sort of warning. A108-09,

Finally, Navient has always understood that sending boilerplate written
information about IDR does not give it carte blanche to give borrowers inadequate
advice over the phone. To the contrary, despite what Navient is now arguing in this
litigation, Navient has always known that struggling borrowers faced with the
complexity of repayment options rely on phone advice, and Navient has
encouraged borrowers to trust that they can receive accurate advice by phone.
Indeed, in 2016, Navient urged to the FCC that regulations concerning phone

contact should be changed to remove “impediments . . . to reaching and helping

10
 

 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 15 of 29

struggling and at-risk borrowers” because of “the importance of [phone] contact.”
A116. Navient summarized its position as follows: “one thing has become crystal
clear from our years of experience: live contact with borrowers is key to helping
them navigate the multitude of options and the complexity of the repayment
system.” A117.
III. Navient’s Incomplete Production of Borrower Records

Against this backdrop of evidence that Navient had a systemic practice of
steering, Navient has pursued a consistent strategy in this litigation of trying to
hinder key aspects of discovery. For example, with respect to the production of
emails, Navient initially took the remarkable position that it would produce
virtually no internal emails about the Bureau’s steering claim and various other
practices alleged in the complaint. The Bureau was required to seek the
involvement of the Court to compel production of those emails. See Doc. 74. And
indeed, the productions have and are continuing to yield evidence supporting the
Bureau’s claims, as described above. Similarly, Defendants resisted production of
contact information of former employees, again requiring the Bureau to seek the
involvement of the Court. See Doc. 99. And by contacting those former employees,
the Bureau continues to learn information corroborating its claims.

Another front in Navient’s ongoing battle to hinder discovery has been to

resist production of records and calls for borrowers whom Navient is deposing. Put

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Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 16 of 29

differently, Navient has taken the position that borrowers are not entitled to see all
of the loan records and calls that Navient has in its possession about them. See,
e.g., AL25-27, 129, 133, 136-37, 140, 144. The Bureau raised this issue with the
Court at the August 8, 2018 hearing, specifically noting that the Bureau had
become aware that relevant documents — such as letters confirming enrollment in
verbal forbearances — were being withheld for borrowers being deposed. See Aug.
8, 2018 Hearing Transcript, at 39:13-40:25. The Bureau also noted that calls in
which borrowers agreed to enroll in forbearances were not being produced. Id.; see
also Doc. 99.

At that hearing, the Court asked Navient’s counsel about its questionable
claim that producing all documents and calls for approximately 25 borrowers being
deposed would be too burdensome: “Aren't the files of individual borrowers
maintained by Navient in some coherent fashion, such that if you want to access
the file of [a] borrower it can be done without a great deal of work and effort? I
mean, are you telling me that’s not the case?” Aug. 8, 2018 Hearing Transcript, at
51:10-14. |

Navient responded as follows with respect to borrower correspondence: “J
don’t know if you remember the old dos [sic, DOS] screens with like black — black
screens with the green flashing — green flashing language | ... 90 it’s like that.

And in order — so what we look at is we look at that screen, and there’s a screen

12
 

 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 17 of 29

that shows the whole history of the loan. .. . [Y]Jou have to look at that screen,
click — click the entry, that gets sent to another part of the business, downloaded,
and then we can produce it.” fd. at 51:23-52:11.

With respect to call recordings, Navient stated as follows: “And I can tell
you that the company cannot pull them by account numbers. . . . Instead, we have
to look at the call notes, look at the time and date, go to the system where that call
would have been located, match the time and date with the agent name who took
the call and see if we can find the borrower’s call.” Id. at 52:18-24.

Based on these explanations, the Court set out the procedure by which the
Bureau could request documents withheld: the Bureau would “look at the loan
history” to be provided by Defendants, “identify the calls [and correspondence]
that relate to the specific activities at issue,” and Navient would then have to “go
and try to locate those calls and correspondence.” /d. at 52:9-11; 55:19-24.

Information that the Bureau has learned since that hearing raises serious
doubts about the accuracy of the descriptions Navient provided about the process
of locating borrower correspondence and calls and the associated burden. During
an Onsite visit to a Navient servicing center for purposes of finalizing the Bureau’s
data requests, the Bureau learned that borrower calls and correspondence are
indeed maintained in a “coherent fashion.” All correspondence can be queried by a

borrower’s social security number, and that correspondence is located in a white-

13
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 18 of 29

screen database (with no flashing text) that does not resemble DOS at all. See
A147 (screenshot of database showing borrower documents queried by social
security number). In addition, all of that correspondence can be opened and
downloaded without having to make contact with another business area. And in
separate databases (which, again, have white screens with no flashing text, and do
not look like DOS), a borrower’s calls typically can be retrieved simply by
querying that borrower’s phone number. See A149, 151, 153 (screenshots of
databases showing borrower calls queried by phone number). Indeed, a current
Navient call supervisor described the process of locating calls as straightforward:
“T usually don’t struggle to find calls. Like it’s pretty easy to find the calls most of
the time. ... I honestly have never had a time that I’ve run into where I couldn’t
find a call.” A103, 105. In sum, the documents for specific borrowers are
segregated in “coherent fashion,” and claims of excessive burden to download all

of those documents do not withstand scrutiny.°

 

> It would seem to take more effort for Navient’s counsel to engage in a
process of listening to all calls for a borrower, and reading all correspondence with
the borrower, to determine what to produce and what to withhold, rather than to
simply produce all of a borrower’s documents and calls. And, on some occasions,
Navient has delayed borrower depositions due to the inability to timely make their
selective production of records for the borrower to be deposed. Thus, it appears
that the culling exercise that Navient’s counsel performs, not the process of

14
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 19 of 29

After the August 8, 2018 hearing, pursuant to the Court’s instructions,
Navient produced a loan history log for each borrower, printed from a screen in
their servicing system, so that the Bureau could determine what potentially
relevant items on those logs were withheld and should have been produced.° The
Bureau compared Navient’s productions for borrowers with their loan history logs,
and discovered a significant volume of potentially relevant calls and
correspondence that had not been produced. (A 26-page list of documents and calls
that the Bureau believed had not been produced is attached at A156-81). The
Bureau requested that Navient produce all of those documents and calls on
December 7, 2018. A155. To date, Navient has not yet produced all of the calls and
correspondence on that list, despite the procedure that the Court set forth at the

August 2018 hearing requiring them to do exactly that.’ The Bureau also expressed

 

gathering all documents and calls associated with the borrower, is what is labor
intensive.

© These logs should have been produced in advance of the borrower
depositions, as they are unquestionably relevant. Navient’s counsel admits that
they consulted these logs to determine what to produce, and thus they made the
conscious decision that the logs themselves would be among the items to
improperly withhold before the depositions occurred. The logs include relevant
information about the specific dates borrowers contacted Navient, and in certain
instances, the apparent outcome of those calls.

’ The Bureau received a small production of documents and calls on
February 5, 2019 in response to the 26-page list from the Bureau. The Bureau is in
the process of reviewing that production, but it 1s evident to the Bureau that some

15
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 20 of 29

concerns that some loan history logs had been improperly withheld (A155), and
Navient did not respond to that concern.

While the Bureau is continuing to pursue this issue with Defendants and
intends to seek relief if relevant records continue to be withheld, Navient ironically
has made the experiences of borrowers whose records they have not fully produced
the centerpiece of their motion.

STATEMENT OF QUESTION INVOLVED

Should the deadline for Bureau’s response to Navient’s motion for partial
summary judgment be deferred until 21 days after the deadline for filing summary
judgment motions, and should the parties be prohibited from filing further
summary judgment motions before the close of discovery?

Suggested answer: Yes, because: (a) the parties are in the middle of active
discovery; (b) Navient has acknowledged that this case should be about “Company
practice” (Navient Brief, at 19), and while the Bureau is still reviewing Navient’s
document production, the Bureau has already uncovered substantial evidence

showing a “Company practice” of inadequately advising borrowers about IDR; and

 

items from the 26-page list have not been produced. It appears that some of the
calls on the 26-page list were not retained, but the Bureau has not received a
response to its inquiry regarding which calls were not retained and when the non-
retention occurred. See A155.

16
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 21 of 29

(c) the motion is based on the experiences of specific borrowers for whom Navient
has not fully produced potentially relevant documents and calls.
ARGUMENT

Navient’s motion is premature because discovery is not complete.
Accordingly, the Bureau’s response to the motion should be deferred until 21 days
after the deadline for summary judgment motions, which is after the close of all
discovery. In addition, for the efficiency of this case — including so that the parties
can focus their efforts on bringing fact discovery to a close in four months — further
summary judgment motions before the close of discovery should be prohibited.

Navient’s motion is an attempt to short-circuit the Bureau’s ability to create
an adequate record through the discovery process. Yet “it is well established that a
court “is obliged to give a party opposing summary judgment an adequate
opportunity to obtain discovery’ . .. . because, by its very nature, the summary
judgment process presupposes the existence of an adequate record.” Doe v.
Abington Friends Sch., 480 F.3d 252, 257 (3d Cir. 2007); see also Shelton v.
Bledsoe, 775 F.3d 554, 565 (3d Cir. 2015) (noting that “{i]f discovery is
incomplete, a district court is rarely justified in granting summary judgment”).

Navient is undoubtedly aware that it is not feasible for the Bureau to have
completed review of Navient’s document productions. Navient recently insisted

upon seven weeks to review the Bureau’s forthcoming production of the non-

17
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Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 22 of 29

privileged documents from a universe of 55,000 documents mentioning the words
“Navient” or “Pioneer.” See Doc. 155, at 1. Thus, it is not realistic for Navient to
expect the Bureau to review a volume of documents that is over eight times as
large in the four months that have elapsed since Navient produced those
documents, let alone for the Bureau to supplement its Rule 26(a)(1) disclosures and
notice and take additional depositions based on information from those documents.
In addition, in mid-January 2019, Navient produced certain borrower data that the
Bureau requested in February 2018, the 11-month production period included
approximately 9 months in which Navient sought to block the production entirely.
This delay prevented the Bureau from being able to analyze this data and select a
call sample for production based on the data by this point in the discovery process.
Navient also delayed production, until September 2018, of contact information for
former call center employees, which limited the Bureau’s ability to interview these
individuals, supplement the Bureau’s Rule 26{a){1) disclosures with additional
potential witnesses, and notice and take depositions, if necessary. Had Navient
produced this information when its interrogatory responses were due in late March
2018, the Bureau could have begun its outreach over five months earlier.

In addition, though the review of Navient’s productions is ongoing, the
Bureau has already obtained significant evidence showing that Navient’s

“Company practice” was that it did not adequately advise borrowers about IDR. As

18
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 23 of 29

described above, this evidence includes internal emails, job aids, calls,
observations from third-party student loan counselors, a review by ED, and
Navient’s own acknowledgement about the importance of calls with borrowers in
helping them understand repayment options. The Bureau should be allowed to
fully develop this evidence, including by completing its review of Navient’s
productions and by obtaining a sample of calis.

Finally, as described above, Navient’s motion is premised on the
experiences of borrowers whom Navient has subpoenaed and deposed, yet Navient
has not produced all of the correspondence and call recordings that would allow for
these borrowers’ experiences to be fully understood. For example, even though
many of those borrowers ultimately enrolled in IDR, that is not surprising: it is
possible that Navient changed some of its practices in response to the Bureau’s
investigation, this lawsuit, and the lawsuits filed by the Attorneys General of five
states, and thus many borrowers who had extended periods of forbearance were
eventually informed about IDR during phone conversations with Navient and
enrolled in IDR. However, for the periods preceding IDR enrollment, Navient has
not produced relevant documents concerning those borrowers (such as letters
confirming enrollment in verbal forbearances), as well as numerous calls in which

forbearance enrollment occurred. Their experiences cannot be accurately and

19
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 24 of 29

completely presented until all of their relevant documents and calls are produced
and analyzed.

In light of these factors, as well as a host of discovery issues to be litigated
before the special master, an adequate record in this case has yet to be developed,
and summary judgment is inappropriate. See, e.g., Smithson v. Rizzo, 2015 WL
1636143, at *5 (M.D. Pa. Apr. 7, 2015) (denying motion for summary judgment
as premature); Humbert v. Kurtz, 2008 WL 719244, at *8 (M.D. Pa. Mar. 14,
2008) (same); La Fata v. Raytheon Co., 223 F.Supp.2d 668, 680 (E.D. Pa. 2002)
(same).

The information asymmetry found in enforcement actions such as this
disproportionately favors Navient. Its conduct is at the heart of the case, and it is in
possession of the vast majority of relevant information. The above-described
events have exacerbated this asymmetry, putting the Bureau at an unfair
disadvantage. This case involves important issues affecting potentially hundreds of
thousands of consumers. The factfinder should have a full evidentiary record to
resolve these issues. See, e.g., Doe, 480 F.3d at 257 (noting that deferring
consideration of summary judgment is particularly appropriate “when there are
discovery requests outstanding or relevant facts are under the control of the

moving party’). The Bureau would be severely prejudiced by a premature

20
 

 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 25 of 29

adjudication of a summary judgment motion, especially in light of Navient’s
delayed and incomplete productions to date.

In addition, in light of the discovery issues that need to be resolved, it would
be inefficient for the parties to litigate, and for the Court to adjudicate, a summary
judgment motion now. The parties should be working toward resolution of a litany
of discovery disputes to complete development of the factual record in this case,
not diverting resources to briefing premature motions. Particularly in light of
potentially serious issues concerning Navient’s deficient production of records
relating to borrowers who have already been deposed and who are at the center of
Navient’s motion, the record in this case is “so significantly clouded . . . that
resolution of [a] motion for partial summary judgment .. . at this time would.
constitute an inefficient use of judicial resources and frustrate the purpose of
summary adjudication.” Advanced Fluid Sys., Inc. v. Huber, 2015 WL 1729375, at
*1 (M.D. Pa. Apr. 15, 2015); see also Dean v. Douglas, 2012 WL 6151137, at *6
(M.D. Ga. Dec. 11, 2012) (denying motion for partial summary judgment on the
basis of efficiency); In re G—I Holdings Inc., 2007 WL 1412294, at *4 (D.N.J. May
14, 2007) (same).

CONCLUSION
For the foregoing reasons, the Bureau respectfully requests that the Court

enter the attached proposed order deferring the deadline for the Bureau’s response

21
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 26 of 29

to Navient’s motion for partial summary judgment until 21 days after the deadline

for motions for summary judgment and prohibiting the parties from filing any

further summary judgment motions until both fact and expert discovery have

concluded.

Dated: February 6, 2019

Respectfully submitted,

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22
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 27 of 29

CERTIFICATE OF WORD COUNT

Pursuant to Local Rule 7.8(b)(2), [ hereby certify that the foregoing brief in

opposition contains 4614 words.

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23
Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 28 of 29

CERTIFICATE OF SERVICE
I certify that, on February 6, 2019, I served the foregoing document and the
accompanying materials by email to the following counsel for Defendants:

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24
 

Case 3:17-cv-00101-RDM Document 213 Filed 02/07/19 Page 29 of 29

1700 G Street NW,
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February 6, 2019

By UPS Overnight

 

Clerk, U.S. District Court for the Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse

235 N. Washington Avenue

Scranton, PA 18503

Re: CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Clerk:

Enclosed please find documents to be filed under seal in the above-captioned matter.
Specifically, these documents are a brief in support of a motion that the Plaintiff filed on
February 6, 2019, as well as an appendix of exhibits to that brief. There is a protective order in
the case that authorizes these documents to be filed under seal (see ECF Doc. 66-1, J 11; ECF

Doc. 67).
Please do not hesitate to contact me if you have any questions. Thank you for your

assistance.

Sincerely,
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Enclosures

cc: Defendants’ Counse! (by email only)
